            Case 5:04-cv-00211-CAR Document 470 Filed 09/22/09 Page 1 of 2



                         THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

JAY OTERO,                     :
                               :
      Plaintiff,               :
                               :                       Civil Action
v.                             :                       No. 5:04-cv-211 (CAR)
                               :
GEORGE R. VITO, and FOOT & LEG :
CENTERS OF GEORGIA, P.C.,      :
                               :
      Defendants.              :
______________________________ :

                       ORDER ON MOTION FOR ATTORNEY’S FEES

       Plaintiff has moved the Court to award attorney’s fees in the amount of $94,378.81 for his

efforts to collect the judgment in this case. On May 11, 2007, the Court entered judgment against

Defendants under the Georgia RICO Act, in the amount of $3,970,967.72. Defendants failed to

satisfy or attempt to satisfy the judgment, thus requiring Plaintiff to undertake diligent efforts to

discover Defendants’ assets and collect judgment. As part of these efforts, Plaintiff’s trial attorneys

engaged the services of Richard S. Alembik, an attorney with extensive experience in post-judgment

collections. Plaintiff now seeks an award to compensate for fees he has paid for Mr. Alembik’s

services.

       Under the Georgia RICO Act, courts are authorized to award reasonable attorneys’s fees and

costs for investigation and litigation litigated to the collection of judgments. See Dee v. Sweet, 268

Ga. 346, 351 (1997). The Court must determine attorneys’s fees according to “prevailing market

rates in the relevant community for ‘lawyers of reasonably comparable skill, experience, and

reputation.’” Davis v. Locke, 936 F.2d 1208, 1215 (11th Cir. 1991) (quoting Blum v. Stenson, 465


                                                  1
         Case 5:04-cv-00211-CAR Document 470 Filed 09/22/09 Page 2 of 2



U.S. 886, 895 n. 11 (1984)). The Court has reviewed the affidavit of Mr. Alembik and the

supporting documentation, and finds that his efforts and the hours expended have been reasonable,

given the complexity of the case and the lack of cooperation from the Defendants. The Court further

finds that Mr. Alembik’s rate of $225 per hour is reasonable for an attorney of his experience

practicing in the Macon, Georgia area. The rates stated as to associate attorneys and paralegal

support, however, are somewhat excessive for this market. In the Macon market, a more reasonable

rate for associates with approximately three years of experience would be $150 per hour. For

paralegal services of this type, the prevailing rate is $75 per hour.

         Wherefore, the Motion for Attorney’s Fees (Doc. 464) is GRANTED, with Plaintiff to be

awarded for the hours set forth in Mr. Alembik’s affidavit, at the rates set forth above. Plaintiff is

directed to prepare and submit a modified bill reflecting the revised hourly rates for associates and

paralegal services.

       SO ORDERED, this 22nd day of September, 2009.


                                               S/ C. Ashley Royal
                                               C. ASHLEY ROYAL
                                               UNITED STATES DISTRICT COURT




chw




                                                  2
